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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 23-CV-23799-RAR

  THE SMILEY COMPANY SPRL,

          Plaintiff,

  v.

  THE INDIVIDUALS, PARTNERSHIPS AND
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A,”

          Defendants.
                                                           /

                       ORDER DIRECTING CLERK TO ENTER DEFAULT

          THIS CAUSE comes before the Court upon sua sponte review of the record. Plaintiff

  filed the Complaint, [ECF No. 1], on October 5, 2023. On October 18, 2023, Plaintiff filed an Ex

  Parte Motion for Order Authorizing Alternate Service of Process on Defendants, pursuant to

  Federal Rule of Civil Procedure 4(f)(3), [ECF No. 6] (“Motion for Alternate Service”). The Court

  entered an Order granting the Motion for Alternate Service on October 24, 2023, [ECF No. 10].

  In accordance with this Order, Plaintiff served each Defendant with a summons and a copy of the

  Complaint via electronic mail and website posting. See [ECF No. 16].

          Pursuant to Federal Rule of Civil Procedure 12(a), Defendants were required to file a

  response or answer to Plaintiff’s Complaint by November 27, 2023. To date, there is no indication

  that a number of Defendants (“Defaulting Defendants”) 1 have answered or otherwise responded

  to the summons and Complaint, nor have these Defaulting Defendants requested an extension of

  time to do so. Therefore, it is hereby



  1
   A number of Defendants have been dismissed from the case, see [ECF Nos. 22, 27, 29, 31, 34, 40, 47, 49,
  54, 57, 63, and 66], and others have filed Answers, see [ECF Nos. 35, 36, 37, 39, 42, 43, 44, 45, 46, 51, 52,
  53, 55, 58, 59, and 64]. This Order does not apply to these Defendants—only to the Defaulting Defendants.
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         ORDERED AND ADJUDGED that the Clerk shall file an Entry of Default against

  Defaulting Defendants pursuant to Rule 55(a) of the Federal Rules of Civil Procedure. Within

  ten (10) days of the Clerk’s Entry of Default, Plaintiff shall file a Motion for Default Final

  Judgment (“Motion”). The Motion must aver that all Defaulting Defendants subject to the Default

  Final Judgment have neither responded to the summons and Complaint nor been dismissed from

  the case.   The Motion must also include affidavits of any sum certain due by Defaulting

  Defendants, and any other supporting documentation necessary to determine Plaintiff’s measure

  of damages. The Motion shall also be accompanied by (1) the necessary affidavit under the

  Servicemembers Civil Relief Act, 50 U.S.C. app. section 521(b), if applicable; (2) a memorandum

  of law supporting entitlement to final judgment; (3) a proposed order; and (4) a proposed final

  judgment. Pursuant to the CM/ECF Administrative Procedures, the proposed orders shall be

  submitted to the Court by e-mail in Word format at ruiz@flsd.uscourts.gov. The email subject

  line must include the case number as follows: XX-CV-XXXX-RAR. Plaintiff shall send a copy

  of the Motion to Defaulting Defendants’ counsel or to Defaulting Defendants directly if they

  remain unrepresented. In the certificate of service, Plaintiff shall indicate that notice was sent and

  the addresses where notice was sent.

         If Defautling Defendants fail to move to set aside the Clerk’s Default or respond to the

  Motion within the time permitted by the Rules, default final judgment may be entered, which

  means that Plaintiff may be able to take Defaulting Defendants’ property or money, and/or obtain

  other relief against Defaulting Defendants. Plaintiff’s failure to file the Motion within the specified

  time frame will result in a dismissal without prejudice and without further notice.

         DONE AND ORDERED in Miami, Florida this 8th day of December, 2023.



                                                             _________________________________
                                                             RODOLFO A. RUIZ II
                                                             UNITED STATES DISTRICT JUDGE
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